Filed 8/27/24 Zinni Media Concept Limited v. Mayweather CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.




IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE



 ZINNI MEDIA CONCEPT LIMITED,                                           B334403

           Plaintiff and Appellant,                                     (Los Angeles County
                                                                        Super. Ct. No.
           v.                                                           19VECV00170)

 FLOYD MAYWEATHER, JR.,

           Defendant and Appellant.




     APPEAL from a judgment of the Superior Court of Los
Angeles County, Huey P. Cotton, Judge. Affirmed.
     O’keke &amp; Associates and Patrick I. O’keke for Plaintiff and
Appellant.
     Eisner, Jeremiah Reynolds and Benjamin Kassis for
Defendant and Appellant.
       Defendant and appellant Floyd Mayweather, Jr.
(Mayweather) a well-known American boxer, entered into
agreements with Plaintiff and appellant Zinni Media Concept
Ltd. (Zinni) to make appearances in Africa that Zinni would
organize and finance. Zinni filed the current lawsuit after
Mayweather cancelled all of the appearances and terminated the
agreements. During discovery, Mayweather failed to appear at
noticed depositions, failed to facilitate the scheduling of his
deposition, and ultimately ceased communicating about his
deposition completely. Some of Mayweather’s conduct also
violated court orders, including failing to appear for his
deposition and failing to pay related monetary sanctions. The
trial court granted Zinni’s motion to impose terminating
sanctions against Mayweather, and default was subsequently
entered against him. Mayweather then filed a motion to set
aside the default, which the trial court denied. The trial court
entered judgment.
       On appeal, Mayweather argues that the trial court abused
its discretion by imposing terminating sanctions and denying his
motion to set aside the default. Zinni appeals, arguing the trial
court abused its discretion by failing to award the full damages
pleaded and proved in connection with Mayweather’s default.
       We affirm the trial court’s judgment.




                                2
           FACTS AND PROCEDURAL HISTORY

A.   The Celebrity Engagement Agreements

      On or about April 2017, Mayweather’s agent Keane Anis
(Anis) contacted Zinni, a Nigerian firm, with a proposal to enter
into a “Celebrity Engagement Agreement” with Mayweather
under which Mayweather would make five appearances in Africa
in June 2017. Mayweather and Zinni entered into the
agreement, which required Zinni to pay Mayweather $75,000 per
appearance for hotel expenses; to book, arrange and pay for
ground transportation; to provide security; and to book and pay
for the event venue, including sound, regulatory permits, lights,
production, and hospitality. Pursuant to the agreement, Zinni
wired Mayweather $10,000 as a good faith commitment. Upon
receipt of a video drop from Mayweather acknowledging the
agreement, Zinni wired Mayweather’s business, One
Entertainment, a total of $200,000 in May and June 2017. Zinni
then made arrangements, including hotel reservations,
transportation, security, and venue, and commenced a marketing
and promotional campaign to promote Mayweather’s
appearances.
      On or about June 13, 2017, Anis informed Zinni that
Mayweather would not be making the agreed-upon appearances.
Zinni demanded a refund of the funds it had wired to
Mayweather, but Mayweather refused to comply. Anis instead
proposed a new engagement for Mayweather to make
appearances in Africa in December 2017, which Zinni accepted.
The new agreement required Zinni to pay an engagement fee of




                                3
$550,000, of which the previously wired funds would be deemed a
deposit. On or about November 4, 2017, Mayweather terminated
the new agreement.

B.    Zinni Initiates the Lawsuit

      On July 2, 2018, Zinni filed a complaint filed in federal
court, which was subsequently dismissed without prejudice for
lack of subject matter jurisdiction.1
      On February 24, 2019, Zinni filed the instant action in
state court. The action was removed to federal court, but then
remanded to state court on January 13, 2020.
      On July 28, 2020, Zinni filed the operative second amended
complaint (SAC) against Mayweather alleging breach of contract,
unjust enrichment, and fraud and/or fraud in the inducement.
The SAC sought damages suffered by Zinni, including but not
limited to the funds Zinni had already paid to Mayweather,
expenses and costs incurred, loss of profit and goodwill, legal
interest and compensation of injuries suffered as a result of
fraud/fraud in the inducement in an amount not less than
$2,000,000.
      Mayweather answered on August 8, 2020.




      1 Equity Legal, LLP (Equity Legal) and its counsel,
including managing partner Luiey G. Haddad (Haddad), were
retained by Mayweather to defend the action when it was filed in
federal court in 2018 and served as counsel until the court
granted Haddad’s motion to be relieved as counsel on August 19,
2022.



                                4
C.    Zinni Attempts to Obtain Mayweather’s Deposition

       On December 29, 2020, Zinni noticed Mayweather’s
deposition to be taken on February 3, 2021.
       On January 22, 2021, Mayweather’s counsel stated
Mayweather would be objecting to the deposition because counsel
and Mayweather were unavailable on the noticed date. Zinni’s
counsel agreed to an extension and asked for alternative dates for
Mayweather’s deposition. Mayweather’s counsel agreed to
provide alternative dates as soon as counsel heard from
Mayweather. Counsel’s email mentioned that Mayweather “is a
public figure and due to his travel schedule we have had a
difficult time meeting with our client . . . .” On February 28,
2021, Zinni’s counsel granted Mayweather a 30-day extension to
respond to discovery. On May 10, 2021, Zinni’s counsel again
requested deposition dates for Mayweather. Counsel advised
that if Mayweather did not provide deposition dates by close of
business on May 15, 2021, Zinni would file a motion to compel.
Mayweather did not respond to Zinni’s requests. Mayweather did
not: (1) make a written objection to the deposition, (2) request an
order staying the deposition, (3) seek to quash the deposition, or
(4) obtain a protective order.

D.    Zinni’s Motion to Compel and the Court’s First Order
      Setting Mayweather’s Deposition

     On June 22, 2021, Zinni filed a motion to compel
Mayweather’s attendance and deposition testimony and
requested related sanctions in the amount of $9,000 pursuant to




                                5
Code of Civil Procedure section 2025.450, subdivisions (a) and
(g)(1).2 Zinni noticed a hearing on the motion for September 29,
2021. Mayweather did not object to the motion to compel.
       The court continued the hearing on the motion to compel to
December 10, 2021. The court also issued a notice for the parties
to attend an informal discovery conference (IDC) on December 2,
2021.
       On December 1, 2021, Mayweather filed an answer to the
request for IDC stating that he had previously offered possible
dates for deposition in January or March 2022 and that
“[d]efendant’s counsel is working to confirm those months are
still available.” The answer acknowledged that the purpose of
the IDC was to decide Zinni’s motion to compel and request for
sanctions. Mayweather averred that Zinni demanded non-
agreeable dates and attached conditions including
reimbursement of attorney fees for the motion to compel and
waiver of Zinni’s representative’s deposition in the event that
Mayweather’s deposition did not go forward.
       During the IDC, the court gave Mayweather’s counsel time
to contact Mayweather and obtain available dates for deposition.
Mayweather’s counsel left the room and returned several minutes
later committing to a deposition on March 21, 2022. Following
the IDC, the court issued an order for Mayweather to appear for
deposition on March 21, 2022. The order advised that
Mayweather’s failure to appear would be in violation of the trial
court’s order and could subject him to sanctions. The hearing on
Zinni’s motion to compel was vacated.



      2 All further statutory references are to the Code of Civil
Procedure unless otherwise indicated.



                                 6
E.    Mayweather’s Violation of the Court’s December 2,
      2021 Order

       Approximately six minutes before Mayweather’s scheduled
deposition on March 21, 2022, Mayweather’s counsel sent an e-
mail stating that “over the weekend a business matter arose
which requires [Mayweather’s] full attention today” so he would
not be attending the deposition.
       On March 23, 2022, Zinni’s counsel sent a letter demanding
(1) reimbursement for the $12,970 cost of the cancelled deposition
and (2) a list of Mayweather’s available deposition dates through
April 8, 2022. In the event that Mayweather did not comply,
Zinni advised that it would renew its prior motion to compel and
request sanctions. Zinni provided a breakdown of its deposition
costs upon Mayweather’s request.
       On March 29, 2022, Mayweather’s counsel counter-offered
to pay $10,000 of the costs, and he represented that he was “still
coordinating with Mr. Mayweather’s representatives regarding
available dates.” On March 30, 2022, Zinni accepted the counter-
offer but stated that Mayweather’s deposition must be scheduled
and payment made by April 3, 2022, or Zinni would renew the
motion to compel.
       Mayweather neither made payment nor offered deposition
dates.

F.    Zinni’s Renewed Motion to Compel

    On April 14, 2022, Zinni renewed its motion to compel
Mayweather’s deposition and sought monetary sanctions in the
amount of $16,270.00 and terminating sanctions pursuant to




                                7
sections 1008, subdivision (b), 2017.010, 2023.010, 2023.030, and
2025.450. Zinni noticed the motion for hearing on August 19,
2022.
       On April 26, 2022, the parties stipulated to continue trial
from July 11, 2022 to a date after January 31, 2023.
       On April 28, 2022, the trial court denied the request to
continue the trial, and set the hearing on the motion to compel
for May 16, 2022.
       On May 12, 2022, Mayweather’s counsel, Equity Legal,
LLC (Equity Legal) and managing partner Luiey G. Haddad
(Haddad), filed a declaration in opposition to the motion to
compel. Haddad declared that he had immediately informed
Mayweather’s representative of the court-ordered deposition set
for March 21, 2022. Mayweather’s representative had confirmed
with Haddad multiple times that Mayweather would appear.
The last confirmation was provided on March 18, 2022. Equity
Legal prepared for the deposition and was not informed that
Mayweather would not attend until the day of the deposition.
Since March 21, 2022, Equity Legal had made diligent attempts
to contact Mayweather and his representative without success.
Mayweather’s representative “ceased communications” with
Equity Legal and they were unable to secure an alternative
deposition date. On the same day, Haddad and Equity Legal
filed a motion to be relieved as counsel.

G.    The Court’s Second Order Compelling Mayweather’s
      Deposition

     On May 16, 2022, the trial court granted Zinni’s motion to
compel and request for sanctions in a minute order. Citing to




                                8
section 2025.450, the court ordered Mayweather to appear for his
deposition and to pay monetary sanctions in the sum of
$16,270.00 within 30 days. The court warned that failure to
appear could result in terminating sanctions. The court directed
Zinni to file a declaration with the court if Mayweather failed to
appear within the allotted time. The court advanced and vacated
the jury trial scheduled for July 11, 2022.
      Mayweather did not appear for deposition.
      On June 17, 2022, Zinni filed the declaration and notice of
Mayweather’s noncompliance with the court’s May 16, 2022
order, as the court had instructed. Zinni requested terminating
sanctions. Mayweather did not file an opposition to the
declaration and notice of noncompliance.
      On June 25, 2022, Haddad filed a declaration in support of
his motion to be relieved as counsel. Haddad declared that
Equity Legal was retained to represent Mayweather in this
action in 2018 and had represented him since that time. Haddad
was directed to communicate with Mayweather through his
representative Brent Johnson. Equity Legal did not experience
problems communicating with Mayweather prior to
Mayweather’s scheduled deposition. Communications with
Mayweather’s representatives broke down after Mayweather
missed the deposition. Haddad confirmed with Jeremiah
Reynolds (Reynolds), who served as counsel for Mayweather in
another matter, that Johnson was the correct contact person for
Equity Legal and Mayweather’s regular mailing address in Las
Vegas (Las Vegas address), through which Reynolds
communicated with him. Haddad attempted to coordinate
Mayweather’s deposition with Johnson multiple times without
success. Johnson ultimately informed Haddad that he was




                                9
unable to communicate with Mayweather effectively. Haddad
filed the motion to be relieved as counsel thereafter, solely on the
basis of inability to communicate with Mayweather.

H.    Order Imposing Terminating Sanctions and Entry of
      Default

       On August 3, 2022, the trial court issued an order granting
terminating sanctions against Mayweather. The court found that
Mayweather violated the May 16, 2022 order and that
Mayweather would not comply with any order of the court
compelling him to cooperate in the discovery process. The court
struck Mayweather’s answer and cross complaint.
       On August 19, 2022, the trial court granted Haddad and
Equity Legal’s motion to withdraw as counsel.
       On October 21, 2022, the trial court entered default against
Mayweather. On March 28, 2023, Zinni requested entry of
judgment. Zinni sought $6,353,517.00 in damages, including
$1,920,581.00 in special damages, $2,867,780 in general
damages, interest of $1,548,601.00, costs of $285.00, and attorney
fees in the amount of $16,270.

I.    Mayweather Moves to Set Aside the Default

      On April 21, 2023, Mayweather moved to set aside the
default on grounds of excusable neglect, claiming that he was
unaware of the court’s May 16, 2022 order and unaware that
default had been taken against him. Mayweather acknowledged
that he did not comply with the court’s December 2, 2021 order or
its May 16, 2022 order to appear at his deposition. Mayweather




                                 10
blamed his failure to appear in response to the May 16, 2022
order on Johnson’s failure to “effectively coordinate” with him.
Neither Johnson nor anyone else informed Mayweather of the
deposition ordered in the May 16, 2022 order or the potential
consequences, including terminating sanctions. Haddad sent all
filings to an incorrect address for Mayweather Promotions, LLC
in Las Vegas (the Las Vegas address), which was not
Mayweather’s personal mailing address. Mayweather argued
that because Haddad’s affidavit identified the incorrect Las
Vegas address rather than stating that the address was
unknown, the affidavit contained false information, and under
the circumstances, relief from default was proper. Relief from
default would not prejudice Zinni, which could resume the
litigation. Mayweather could and would attend a deposition if
default was removed. The neglect was excusable—if Haddad had
further investigated, Mayweather may have been informed of the
default. Finally, Mayweather argued that the default judgment
was an attempt to defraud the court into entering a fabricated
judgment for millions of dollars of punitive damages on a breach
of contract claim.
       In support of the motion to set aside the default,
Mayweather filed a declaration stating that he had never spoken
with Haddad and did not know Haddad represented him.
Mayweather further declared that “Brent Johnson, a business
associate of mine, at one point provided me with updates
regarding the lawsuit.” However, neither Johnson nor anyone
else told Mayweather about the deposition he was ordered to
attend in May 2022, or informed him that he could lose the case if
he did not comply with the May 2022 order. Mayweather would
have complied if he knew he could lose the case. Mayweather




                               11
had not received copies of the default or default judgment
package or other documents mailed to Mayweather Promotions
LLC.
      Reynolds, who served as Mayweather’s new counsel in the
matter, also made a declaration in support of the motion to set
aside the default. Reynolds declared that Haddad contacted him
and requested Mayweather’s mailing address. Reynolds said that
he did not know Mayweather’s personal address, and that the
only address he was aware of was the Las Vegas address for
Mayweather Promotions, LLC, which he provided to Haddad.
Reynolds was in direct contact with Mayweather and
Mayweather understood that he needed to appear for his
deposition and pay any outstanding monetary sanctions to Zinni.
Reynolds declared that there was no record of the default ever
arriving at his office.
      Zinni filed an opposition to the motion to set aside the
default on June 4, 2023. Zinni argued that Mayweather did not
qualify for mandatory relief under section 473, subdivision (b),
because the motion was not accompanied by his counsel’s
affidavit attesting to the attorney’s mistake, inadvertence,
surprise, or neglect. The burden was on Mayweather to
demonstrate that the neglect was excusable—i.e., that the default
could not have been avoided through the exercise of ordinary
care. Zinni argued that Mayweather’s motion was barred
because it was not filed within the statutory six-month period or
within a reasonable time. Moreover, Mayweather’s declaration
was disingenuous. Mayweather’s statement that he did not know
Haddad was his attorney was belied by the many actions Haddad
had taken on his behalf in the matter—Hadad removed the
action to federal court, filed a notice of demurrer that was




                               12
sustained in part, filed an answer to the SAC, filed a cross-
complaint, and served discovery demands on Zinni. Mayweather
personally signed the verifications of his responses to Zinni’s
discovery demands, which Haddad submitted to Zinni. Haddad’s
declaration stated that he was retained by Mayweather in 2018
to defend this action. Mayweather’s statement that Johnson
provided him with updates on the lawsuit was an
acknowledgment that he was aware of the case. Mayweather’s
decision to ignore the lawsuit due to his celebrity status did not
constitute excusable neglect, surprise, or inadvertence. It was
irrelevant whether Mayweather was told about the May 16, 2022
order, as he was represented by an attorney whose inexcusable
neglect, if any, was chargeable to Mayweather. The order
specifically warned that failure to comply could result in
terminating sanctions. The default judgment and default
package were served on Mayweather at the Las Vegas address,
current counsel Reynolds, and former counsel Haddad. The
mailed documents were not returned as undeliverable. The
judgment package was signed as received by Reynolds and
Haddad. That Haddad provided an incorrect address was not a
ground to set aside the default—if true, it was Haddad’s mistake,
inadvertence, or neglect, and not Mayweather’s. Haddad did not
file a declaration acknowledging a mistake.
       Zinni’s counsel Patrick O’keke’s declaration was filed in
support of the opposition to the motion to set aside the default.
O’keke verified the facts set forth in the opposition. O’keke
further declared that Mayweather could not be served at any
address that Mayweather provided Zinni in the federal action.
Zinni retained a detective agency, which identified Mayweather’s
mailing address as the Las Vegas address, which was also used




                                13
by Mayweather’s numerous corporations as their mailing
address. At the IDC on December 2, 2021, the court directed
Mayweather’s counsel to contact Mayweather by phone so that
Mayweather could personally provide and confirm the date he
would be available for deposition. Mayweather’s counsel
returned to the conference call with the court and represented
that he had discussed the deposition with Mayweather, who
confirmed he would be available for deposition on March 21,
2022, at 10:00 a.m. The court’s December 2, 2021 order directing
Mayweather to appear on March 21, 2022 was based on
Mayweather’s counsel’s representation. Haddad’s motions to be
relieved as counsel, his proposed order, and the court’s order
granting the motion to be relieved as counsel were served on
Mayweather at the Las Vegas address. Haddad e-mailed O’keke
contact information for Mayweather’s representatives, including
Reynolds. Zinni served the judgment package on Mayweather at
the Las Vegas address, and to Reynolds and Haddad and
provided proofs of service.
      On July 11, 2023, Mayweather replied to opposition. In
addition to reiterating the points in the motion, Mayweather
argued that he should not be held responsible for Johnson’s
failure to communicate with him because Johnson was an
“informal information liaison” not a court-appointed agent or
representative. Johnson’s knowledge could not be imputed to
Mayweather. The reply also argued that the motion was timely
made. Mayweather concurrently filed evidentiary objections to
the exhibits attached to the opposition, objections to the exhibits
attached to O’keke’s declaration, and a supplemental declaration
from Reynolds. Reynolds declared that he did not have actual




                                14
notice of the default until April 5, 2023, the date upon which his
office received a copy of the default judgment package.
       On July 18, 2023, the trial court denied the motion to set
aside the default. The court ruled that the motion was timely
filed but that Mayweather’s unconcerned approach to the
lawsuit—not knowing who his attorney was and relying on
Johnson, an informal liaison, to keep him apprised of the
litigation, was not excusable neglect. The court noted that
Mayweather’s argument that the damages far exceeded those
specified in the complaint was not relevant to the inquiry, but
that he could be heard on that issue if he chose to attend the
default prove up hearing.

J.    The Default Prove Up Hearing

      On September 27, 2023, a default prove-up hearing was
held. After considering the oral and written arguments of the
parties, the court found that the damages to Zinni were limited to
the $1,638,542.00 incurred plus pre-judgment interest, plus
outstanding sanctions in the amount of $16,270.00.

K.    Entry of Judgment

      On October 31, 2023, judgment was entered by the court.
Mayweather was required to pay Zinni $1,638,542.00 in
damages, $721,881.32 in prejudgment interest, $16,270.00 in
attorney fees, and $285.00 in costs, for a total of $2,376,978.32.
      On December 13, 2023, Mayweather appealed the default
judgment. Zinni also appealed.




                                 15
                         DISCUSSION

A.    Order Imposing Terminating Sanctions

      1. Legal Principles

       “ ‘California discovery law authorizes a range of penalties
for a party’s refusal to obey a discovery order, including monetary
sanctions, evidentiary sanctions, issue sanctions, and
terminating sanctions. [Citations.] A court has broad discretion
in selecting the appropriate penalty . . . .’ ” (J.W. v. Watchtower
Bible &amp; Tract Society of New York, Inc. (2018) 29 Cal.App.5th
1142, 1169.) “ ‘The discovery statutes . . . “evince an incremental
approach to discovery sanctions, starting with monetary
sanctions and ending with the ultimate sanction of termination.”
[Citation.] Although in extreme cases a court has the authority
to order a terminating sanction as a first measure [citations], a
terminating sanction should generally not be imposed until the
court has attempted less severe alternatives and found them to
be unsuccessful and/or the record clearly shows lesser sanctions
would be ineffective.’ (Lopez v. Watchtower Bible &amp; Tract Society
of New York, Inc. (2016) 246 Cal.App.4th 566, 604 [605], italics
omitted.)” (J.W. v. Watchtower Bible &amp; Tract Society of New
York, Inc., supra, 29 Cal.App.5th at p. 1169.) “The trial court
may order a terminating sanction for discovery abuse ‘after
considering the totality of the circumstances: [the] conduct of the
party to determine if the actions were willful; the detriment to
the propounding party; and the number of formal and informal
attempts to obtain the discovery.’ (Lang v. Hochman (2000) 77




                                16
Cal.App.4th 1225, 1246.) Generally, ‘[a] decision to order
terminating sanctions should not be made lightly. But where a
violation is willful, preceded by a history of abuse, and the
evidence shows that less severe sanctions would not produce
compliance with the discovery rules, the trial court is justified in
imposing the ultimate sanction.’ (Mileikowsky v. Tenet
Healthsystem (2005) 128 Cal.App.4th 262, 279–280.) Under this
standard, trial courts have properly imposed terminating
sanctions when parties have willfully disobeyed one or more
discovery orders. (Lang v. Hochman, supra, 77 Cal.App.4th at
pp. 1244–1246 [discussing cases].)” (Los Defensores, Inc. v.
Gomez (2014) 223 Cal.App.4th 377, 390.)
        “We review an order imposing discovery sanctions under
the abuse of discretion standard. [Citation.] An abuse of
discretion occurs if, in light of the applicable law and considering
all of the relevant circumstances, the court’s decision exceeds the
bounds of reason and results in a miscarriage of justice.
[Citations.] The abuse of discretion standard affords considerable
deference to the trial court, provided that the court acted in
accordance with the governing rules of law.” (New Albertsons,
Inc. v. Superior Court (2008) 168 Cal.App.4th 1403, 1422.) “ ‘It is
appellant’s burden to affirmatively demonstrate error . . . .
[Citation.] We presume the trial court’s order was correct and
indulge all presumptions and intendments in its favor on matters
as to which it is silent.’ [Citations.] The question on appeal ‘is
not whether the trial court should have imposed a lesser
sanction; rather, the question is whether the trial court abused
its discretion by imposing the sanction it chose.’ ” (Padron v.




                                17
Watchtower Bible &amp; Tract Society of New York, Inc. (2017) 16
Cal.App.5th 1246, 1260.)

      2. Analysis

         a. History and Pattern of Abuse

       Mayweather first argues there was no history or pattern of
abuse in his case because he was only noncompliant in regards to
his deposition, and was responsive to other forms of discovery.
But a trial court is not required to find that a defendant has been
unresponsive to multiple categories of discovery before
determining that the defendant has a history of discovery abuse;
it is sufficient that the defendant has abused the discovery
process repeatedly as to one category of discovery. (See e.g., Lang
v. Hochman, supra, 77 Cal.App.4th at p. 1246 [imposition of
terminating sanctions not an abuse of discretion where party
failed to fully respond to request for production].)
       Mayweather further contends that there was no pattern of
discovery abuse, because he failed to comply with only one court
order, the May 16, 2022 order requiring him to appear for
deposition. He claims violation of a single court order cannot be
the basis for terminating sanctions. In imposing sanctions,
however, a trial court considers the defendant’s actions as a
whole—noncompliance with both formal and informal attempts to
compel discovery is taken into account. (Los Defensores, Inc. v.
Gomez, supra, 223 Cal.App.4th at p. 390.) Here, the record
amply supports a pattern of refusal to submit to a deposition.
Zinni first noticed Mayweather’s deposition to occur on
February 3, 2021. Mayweather refused to appear. Zinni agreed




                                18
to reschedule, and Mayweather’s counsel promised to provide
dates that Mayweather would be available, but over the next few
months, no dates were given. On May 10, 2021, Zinni sent
Mayweather a letter demanding that he provide deposition dates
within five days or Zinni would be forced to file a motion to
compel. Mayweather did not provide dates by the deadline, or in
the month following the demand and Zinni filed the motion to
compel on June 22, 2021. Even then, Mayweather did not offer
deposition dates, oppose the motion to compel, or respond to the
motion in any way.
      The parties then attended an IDC set by the court and
addressed the issue of Mayweather’s deposition. The court had
counsel contact Mayweather during a break in proceedings and
obtained and ordered an agreed-to deposition date of March 21,
2022. This gave Mayweather three and a half months’ notice of
the date. Although Mayweather confirmed with his counsel
multiple times that he would appear, minutes before the
deposition was to take place, Mayweather informed Zinni and his
own counsel that he would not be attending because a business
matter that arose over the weekend needed his attention.
      Zinni demanded reimbursement for the cost of the
deposition and continued to press for available dates.
Mayweather’s counsel negotiated a lesser payment and stated
that counsel was coordinating with Mayweather on dates, and
the parties agreed Mayweather would provide available dates by
April 3, 2022. Mayweather neither made payment nor offered
deposition dates.
      On April 14, 2022, Zinni renewed its motion to compel
Mayweather’s deposition and sought monetary and terminating
sanctions. As a result, the court issued its May 16, 2022 order




                               19
requiring Mayweather to pay sanctions and appear for his
deposition within 30 days, instructing Zinni to file a declaration if
Mayweather did not comply and indicating Mayweather would
then be subject to terminating sanctions. Again, Mayweather
failed to make himself available for deposition or pay the
monetary sanction. After Zinni filed the anticipated declaration
informing the court of these failures, Mayweather did not
respond in any manner until nearly a year later on April 21,
2023, after the court imposed terminating sanctions and entered
default. The record supports a finding that Mayweather had a
history of abusing the discovery process.

          b. Willful Violation

       Mayweather next argues that the trial court did not make a
finding that he was personally aware of his obligations in the
May 16, 2022 order and therefore the court did not find that his
violation was willful. As we previously stated, “ ‘[w]e presume
the trial court’s order was correct and indulge all presumptions
and intendments in its favor on matters as to which it is silent.’ ”
(Padron v. Watchtower Bible &amp; Tract Society of New York, Inc.,
supra, 16 Cal.App.5th at p. 1260.) This includes the trial court’s
finding of willfulness.
       As the trial court later discussed explicitly when it denied
Mayweather’s motion to set aside the default, on this record
termination is amply supported, even assuming Mayweather did
not have personal knowledge of the May 16, 2022 order.
Mayweather purposefully placed himself in a position where he
was unlikely to get complete information, if any, regarding the
litigation. He declared that he had never met his lawyer and did




                                 20
not know who represented him. If Mayweather’s arguments at
the hearing on the motion to set aside the default are to be
believed, he did not even ensure that his attorney had his mailing
address. His sole contact with his lawyer was through Johnson,
an informal liaison who “at one point provided [him] with
updates regarding the lawsuit.” Mayweather was aware that his
deposition had been scheduled repeatedly and that he had not
appeared. He was also aware that he agreed to the March 21,
2022 date at the IDC—he chose the date—and that the court
ordered him to appear on that date or face sanctions, yet he did
not provide dates, pay sanctions, or facilitate the deposition in
any way. Mayweather’s orchestrated ignorance constitutes
willfulness. To the extent that he was uninformed regarding his
lawsuit and obligations, he chose to be. (See Deyo v. Kilbourne
(1978) 84 Cal.App.3d 771, 787–788 [willfulness means “[a]
conscious or intentional failure to act, as distinguished from
accidental or involuntary noncompliance ”].)

         c. Lesser Sanctions

       Mayweather next argues that the trial court failed to
“adhere to California’s mandate that an ‘incremental approach’
be taken with respect to discovery sanctions” and consider lesser
sanctions. We reject this argument as well.
       First, the law does not “mandate” that a trial court impose
a specific type of sanction. “A court has broad discretion in
selecting the appropriate penalty, and we must uphold the court’s
determination absent an abuse of discretion.” (Lopez v.
Watchtower Bible &amp; Tract Society of New York, Inc., supra, 246
Cal.App.4th at p. 604.) “[W]here a violation is willful, preceded




                               21
by a history of abuse, and the evidence shows that less severe
sanctions would not produce compliance with the discovery rules,
the trial court is justified in imposing the ultimate sanction.”
(Moofly Productions, LLC v. Favila (2020) 46 Cal. App. 5th 1, 12.)
“The question on appeal ‘is not whether the trial court should
have imposed a lesser sanction; rather, the question is whether
the trial court abused its discretion by imposing the sanction it
chose.’ ” (Padron v. Watchtower Bible &amp; Tract Society of New
York, Inc., supra, 16 Cal.App.5th at p. 1260.)
       Second, in several opportunities to make filings and
presentations to the court, Mayweather never requested a lesser
sanction. Having failed to raise the issue with the trial court he
cannot now complain that it abused its discretion by not
considering his belated request. (See J.W. v. Watchtower Bible &amp;
Tract Society of New York, Inc., supra, 29 Cal.App.5th at p. 1170
[“[w]e cannot conclude the trial court abused its discretion by
failing to enter an order that was never suggested”].)
       Finally, the trial court did impose a lesser sanction—it
imposed a monetary sanction that Mayweather failed to comply
with, and which he barely acknowledges as a violation of the
court’s order in the opening brief. Mayweather states only that if
he had known he would lose the case he would have complied
with the May 16, 2022 order. Mayweather’s numerous failures to
comply with both formal and informal attempts to compel his
deposition demonstrate that Mayweather set the bar for
compliance at default. The trial court did not abuse its discretion
by finding that Mayweather would not otherwise comply.




                                22
         d. Citation to Authority for Terminating Sanctions

      Finally, Mayweather contends that the trial court’s order
must be reversed because the court failed to identify under which
statutory or other authority the terminating sanctions were
imposed and failed to hold a hearing on the matter in violation of
his due process rights.
      We reject this argument as well. Zinni filed its second
motion to compel Mayweather’s deposition and requesting
monetary and terminating sanctions pursuant to sections 1008,
subdivision (b), 2017.010, 2023.010, 2023.030, and 2025.450.
Mayweather opposed the motion through the declaration of
Haddad. A hearing was held on May 16, 2022, at which the
parties presented arguments.3 Following the hearing, the trial
court issued a minute order that detailed Mayweather’s failures
to comply with discovery, and granted the motion pursuant to
section 2025.450. The court ordered Mayweather to pay
monetary sanctions for his failure to appear at the deposition and
to appear for deposition within 30 days. If Mayweather failed to
comply, Zinni was to file a declaration informing the court of his
failure, at which time the court would consider terminating
sanctions. Mayweather failed to appear, and Zinni made its
declaration on June 17, 2022. Mayweather did not oppose the
declaration in any manner. As a result, the trial court ordered
terminating sanctions on August 3, 2022.
      Mayweather had notice that terminating sanctions could be
imposed pursuant to section 2025.450, which authorizes

      3 Mayweather did not provide a reporter’s transcript of the
May 16, 2022 hearing.



                                23
imposition of terminating sanctions for violation of an order to
appear at deposition under subdivision (h) (“If [a] party . . . fails
to obey an order compelling attendance, testimony, and
production, the court may make those orders that are just,
including the imposition of an issue sanction, an evidence
sanction, or a terminating sanction . . . .”). Mayweather had an
opportunity to argue the issues at the May 16, 2022 hearing, and
did so. He did not oppose Zinni’s declaration giving notice of the
violation or otherwise raise any additional issues or facts for the
trial court’s consideration. His due process rights were not
implicated.

B.    Denial of Motion to Set Aside Default

       Mayweather next contends that the trial court abused its
discretion by denying his motion to set aside the default on
grounds of excusable neglect pursuant to section 473, subdivision
(b). We disagree.
       Section 473, subdivision (b) permits the trial court to “upon
any terms as may be just, relieve a party . . . from a judgment,
dismissal, order, or other proceeding taken against him or her
through his or her mistake, inadvertence, surprise, or excusable
neglect.” “The statute ‘contains both mandatory and
discretionary provisions,’ but only the discretionary provision is
at issue. (Huh v. Wang (2007) 158 Cal.App.4th 1406, 1414.)”
(County of San Bernardino v. Mancini (2022) 83 Cal.App.5th
1095, 1102.) Excusable neglect exists when “a reasonably
prudent person in similar circumstances might have made the
same error.” (Huh v. Wang, supra, at p. 1423.) “We review the
trial court’s discretionary decision to grant or deny relief under




                                 24
section 473(b) for an abuse of discretion.” (County of San
Bernardino v. Mancini, supra, at p. 1103.)
      Mayweather again argues that he was unaware of the trial
court’s May 16, 2022 order, citing the breakdown of
communication between Johnson and Haddad.4 However, the
neglect the trial court found inexcusable was not the breakdown
of communication between Mayweather’s informal representative
and his attorney, it was Mayweather’s decision to take a cavalier
approach to the lawsuit. Mayweather declared that he never met
Haddad and did not know Haddad was his attorney, and claimed
that Haddad did not use a correct mailing address to send
pleadings and filings to him. Instead, Mayweather relied on
Johnson, an “informal liaison” to provide him with information at
some unidentified “point” in the lawsuit. In sum, on this record
we cannot say that the trial court’s conclusion that Mayweather
did not make the same error that “ ‘a reasonably prudent person
in similar circumstances might have made . . . .’ ” is an abuse of
discretion. (Huh v. Wang, supra, 158 Cal.App.4th at p. 1423.)




      4 Mayweather’s complaint that “[the] reasons [for the
communication breakdown] were never examined or determined”
rings hollow. This court cannot ascertain whether the reasons
behind the disconnect were discussed at the hearing, as
Mayweather has not provided a reporter’s transcript. To the
extent that the communication failure remains a mystery, the
impetus was on Mayweather to discover why and how
communications broke down and present evidence to the court. It
does not appear from the record before us that he did so.



                               25
C.    Zinni’s Appeal for Damages

       Zinni argues that the trial court abused its discretion
because it failed to consider and award Zinni the damages for
either its contingent costs of $262,850.00, or for its lost
profit/revenue of $3,325,511.00.

      1. Legal Principles

       A defendant’s default operates as an admission of the
matters well-pleaded in a complaint. (Kim v. Westmoore
Partners, Inc. (2011) 201 Cal.App.4th 267, 281.) “The ‘well-
pleaded allegations’ of a complaint refer to ‘ “ ‘all material facts
properly pleaded, but not contentions, deductions or conclusions
of fact or law.’ ” ’ [Citation.]” (Ibid.) As a result of the well-
pleaded complaint rule, a plaintiff at a prove-up hearing under
section 585 need not introduce evidence in support of the
complaint’s allegations of liability. (Carlsen v. Koivumaki (2014)
227 Cal.App.4th 879, 899–900.) A plaintiff’s burden with respect
to his or her alleged damages, however, is different.
       Where, as here, the relief sought in a complaint is more
complicated than a ministerial award of compensatory damages,
a plaintiff who seeks a default judgment must request entry of
the judgment by the court. (§ 585, subds. (a)–(b); Kim v.
Westmoore Partners, Inc., supra, 201 Cal.App.4th at p. 287.) The
plaintiff must affirmatively establish that he or she is entitled to
the specific judgment requested: “The court shall hear the
evidence offered by the plaintiff, and shall render judgment in
the plaintiff’s favor for that relief, not exceeding the amount




                                 26
stated in the complaint, . . . as appears by the evidence to be
just.” (§ 585, subd. (b); Kim v. Westmoore Partners, Inc., supra, at
p. 287.)
       “The power of an appellate court to review the trier of fact’s
determination of damages is severely circumscribed. An
appellate court may interfere with that determination only where
the sum awarded is so disproportionate to the evidence as to
suggest that the verdict was the result of passion, prejudice or
corruption [citations] or where the award is so out of proportion
to the evidence that it shocks the conscience of the appellate
court. [citations].” (Uva v. Evans (1978) 83 Cal.App.3d 356, 363–
364.)

      2. Proceedings

       In its SAC, Zinni alleged specified actual damages of
$210,000.00 paid directly to Mayweather and an additional sum
of not less than $2,000,000.00 for loss of profit and goodwill, and
for expenses incurred in arranging and planning for
Mayweather’s appearances. Thus, Mayweather had notice that
Zinni sought damages in the amount of $2,210,00.00. (See § 580;
Greenup v. Rodman (1986) 42 Cal.3d 822.)
       In its request for entry of judgment after default was
entered, Zinni submitted a judgment package requesting a total
of $6,353,517.00, including special damages of $1,920,581.00,
general damages of $2,867,780.00, interest of $1,548,601.00, costs
of $285.00, and attorney fees of $16,270.00.
       After considering the oral and written arguments of the
parties, the court found that the damages to Zinni were limited to
actual costs of $1,638,542.00 plus pre-judgment interest, plus




                                 27
outstanding sanctions in the amount of $16,270.00. The court did
not elaborate further on its ruling.

      3. Analysis

         Zinni’s contention depends on what transpired at the
default prove up hearing, but he has not provided a sufficient
record of proceedings to demonstrate reversible error. California
Rules of Court, rule 8.120(b) provides three alternatives if an
appellant “intends to raise any issue that requires consideration
of the oral proceedings in the superior court . . . : [¶] (1) A
reporter’s transcript under rule 8.130; [¶] (2) An agreed
statement under rule 8.134; or [¶] (3) A settled statement under
rule 8.137.” Zinni has failed to follow any of these alternatives.
         “ ‘ “A judgment or order of the lower court is presumed
correct.” ’ ” (Elena S. v. Kroutik (2016) 247 Cal.App.4th 570, 574.)
In the absence of a record of the oral proceedings, “ ‘ “any
condition of facts consistent with the validity of the judgment will
be presumed to have existed rather than one which would defeat
it . . . .” ’ ” (Id. at p. 575.) We must therefore presume the trial
court considered the damages that Zinni sought at the hearing,
and we resolve any ambiguity or vagueness in the minute order
in favor of the trial court’s action. (Ibid. [absence of record of oral
proceedings prevented appellant from rebutting presumption
that he orally stipulated in trial court to having matter heard by
commissioner].)




                                  28
                          DISPOSITION

      We affirm the trial court’s judgment. Each party is to bear
their own costs on appeal.
      NOT TO BE PUBLISHED.




                                           MOOR, J.



We concur:



             BAKER, Acting, P. J.




             DAVIS, J.




       Judge of the Los Angeles Superior Court, assigned by the
Chief Justice pursuant to article VI, section 6 of the California
Constitution.



                                 29
